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                                                 August 23, 2019

Via ECF
Hon. Michael A. Hammer, U.S.M.J.
United States District Court
 For the District of New Jersey
Rev. Dr. Martin Luther King, Jr.
 Federal Building & U.S. Courthouse
50 Walnut Street,
Newark, New Jersey 07102

         Re:       Isley et al v. BMW of North America, LLC
                   Civil Action No. 2:19-cv-12680-ES-MAH
                   Joint Stipulation & Proposed Order on Motion to Dismiss

Dear Judge Hammer:

        This firm represents Defendant BMW of North America, LLC (“BMW NA”). Enclosed
please find the parties’ joint stipulation and proposed order regarding BMW NA’s planned
motion to dismiss the First Amended Complaint. If the stipulation meets with your approval, we
ask that it be entered as an order on ECF.

         Should you have any questions, counsel are available to discuss.

                                                       Respectfully,

                                                       Melissa J. Bayly
                                                       Melissa J. Bayly

CJD/dtb
Enclosure
cc:    Frederick J. Klorczyk III, Esq. (via ECF) (w/encl.)




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